Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 1 of 11
                           Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 2 of 11
                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 19-SW-187
      ONE U.S. POSTAL PARCEL LOCATED AT THE                                 )
       WASHINGTON GENERAL MAIL FACILITY,                                    )
          WASHINGTON, DC UNDER RULE 41                                      )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  SEE ATTACHMENT A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  CONTRABAND CONTROLLED SUBSTANCES




          YOU ARE COMMANDED to execute this warrant on or before           June 3, 2019          (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        G. Michael Harvey                    .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                     .


Date and time issued:          05/21/2019
                                                                                                          Judge’s signature

City and state: Washington, DC                                                       G. Michael Harvey, United States Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 3 of 11
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 19-SW-187
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
          Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 4 of 11



                                          Attachment A

                                    Property to be searched

Subject     Express (E) or Priority (P)    From:              To:
Parcel      and Tracking ID number         Name and Address   Name and Address


1.          (P) 9405 5368 9784 6839        FRANK HARRISON     LAWRENCE LEONARD
            2882 28                        1332 SANCHEZ AVE   3540 21ST ST SE
                                           BURLINGAME CA      WASHINGTON DC
                                           94010-3659         20020-6104
          Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 5 of 11



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 IN THE MATTER OF THE SEARCH OF:
 ONE U.S. POSTAL PARCEL LOCATED
 AT THE WASHINGTON GENERAL MAIL                         Case No.: 19-SW-187
 FACILITY, WASHINGTON, DC
 UNDER RULE 41

                        AFFIDAVIT IN SUPPORT OF APPLICATION
                     FOR A SEARCH WARRANT FOR US MAIL PARCEL

       Your Affiant, Mikel Brancato, United States Postal Inspector, Washington DC, being

duly sworn, hereby deposes and states as follows:

I.     Subject Parcel(s).

       1.      This is an Affidavit submitted in support of an Application for a Search Warrant

for one (1) subject US Mail Parcel, hereinafter “Subject Parcel,” or “SP.”    The Subject Parcel is

currently located at the Washington General Mail Facility, in Washington, DC, 20066. The

Subject Parcel is specifically identified as follows:

Subject     Express (E) or Priority (P)      From:                      To:
Parcel      and Tracking ID number           Name and Address           Name and Address


1.          (P) 9405 5368 9784 6839          FRANK HARRISON             LAWRENCE LEONARD
            2882 28                          1332 SANCHEZ AVE           3540 21ST ST SE
                                             BURLINGAME CA              WASHINGTON DC 20020-
                                             94010-3659                 6104

II.    Affiant’s Training and Experience

                2.     Your Affiant, Mikel Brancato, has been a United States Postal Inspector

since February 2012 and has completed 12 weeks of basic investigative training in Potomac,

Maryland, which included various aspects of federal law enforcement including the investigation

of narcotics-related offenses. Your affiant has participated in investigations involving possession

                                                  1
         Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 6 of 11



with intent to distribute and distribution of controlled substances. Your affiant has participated in

interdictions, controlled deliveries, seizures, and search warrants which resulted in criminal arrest

and prosecution. As a result of your Affiant’s training and experience, your Affiant is aware that

Priority Mail Express and Priority Mail services are regularly used by narcotic traffickers to ship

controlled substances and bulk cash through the U.S. Mail. Based upon my training and experience

in the field of narcotic interdiction through the mails, I know that there are suspicious

characteristics common to many packages that contain narcotics, controlled substances or the

proceeds thereof (i.e. US currency). These factors, more fully detailed below, are used to identify

packages requiring further investigation. In the case of this search warrant, several of these factors

were identified for the one (1) package, and the package was alerted to by the drug detection

canine. The most common factors or suspicious characteristics routinely observed in the course

of screening packages are as follows:

             a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the US Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

                                                  2
         Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 7 of 11



provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug

packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your affiant’s experience, it is fairly

easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and

Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use Priority Mail

Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. Your affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a

search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents.    Sometimes drug packages are addressed to vacant properties with the



                                                  3
         Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 8 of 11



expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Nevada, Washington, Colorado, Puerto Rico and Florida

(among others, including countries such as China, Netherlands, and various African nations) can

also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience Postal Inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The US Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”

                                                  4
           Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 9 of 11



states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

          4.    It is your affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

          5.    The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents of the government. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant, and does not set forth all of my knowledge about this

matter.

III.      Probable Cause

          6.    The following factors or suspicious characteristics are present in the Subject Parcel:

 Subject       From            Weight:        Label:          Senders      Recipient Canine
 Parcel        Source                                         name         s name    Alert?
 Express       State:                                         associated   associate
 or                                                           with         d with
 Priority                                                     address?     address?
                                                              Yes / No     Yes / No
 1.                             0 lbs. 5.0
                 Yes – CA                        Typed            No          Yes        Yes (Max)
 Priority                          ozs


          7.    The suspicious characteristics listed above were identified while the Subject


                                                  5
          Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 10 of 11



Parcel was in the mail stream, including the use of law enforcement and other databases to make

determinations about associations between senders/recipients and the addresses listed on the

parcel.    Therefore, on May 15, 2019, Postal Inspectors removed the Subject Parcel, and law

enforcement used standard protocol for canine detection to determine whether there was

probable cause that the Subject Parcel contained narcotics. After being removed from the mail

stream, the Subject Parcel was individually placed in a secure area next to several other empty

and unused boxes at the Washington General Mail Facility on May 17, 2019. At that time,

narcotic detection canine, Max,1 was brought forward to scan the group of boxes, which included

the individual Subject Parcel and the empty and unused boxes placed around the Subject Parcel.

The handler, Detective Vincent Witkowski (Metropolitan Police Department of the District of

Columbia) observed the canine and then informed agents whether the dog alerted on the Subject

Parcel. As indicated in the chart, the drug detection dog alerted to the presence of narcotics in

the Subject Parcel.

VI. Conclusion

          8.     Your affiant submits that based upon the above indicators reflected in the one (1)

parcel described herein, based upon my training and experience, and based upon the alert of trained

canine on the package, I believe there is probable cause that the above-described Subject Parcel

contains narcotics or controlled substances, and thereby constitute evidence of, and contraband

related to, the possession with intent to distribute controlled substances in violation of

21 U.S.C. Section 841(a)(1), and the use of a communication facility to facilitate the commission



 1
   “Max” was most recently certified in April of 2019 to alert on odors of marijuana (THC), cocaine, “crack”
cocaine, heroin, ecstasy (MDMA) and methamphetamine and is trained to ensure his accuracy. Detective Vincent
Witkowski, detective for the Metropolitan Police Department of the District of Columbia, is the handler for “Max.”


                                                         6
Case 1:19-sw-00187-GMH Document 1 Filed 05/21/19 Page 11 of 11
